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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:05CR131
                                             )
             Plaintiff,                      )
                                             )                     ORDER
             vs.                             )
                                             )
SCOTT D. FREESE,                             )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s motion in limine (Filing No. 155)

and motion to produce Federal Rule of Evidence 404(b) information (Filing No. 156).

      The motion for Rule 404(b) information appears to be the notice required under Rule

404(b). The motion will be granted insofar as the Court acknowledges that the Defendant

has requested notice as required under Rule 404(b).

      IT IS ORDERED:

      1.     The Defendant’s motion in limine (Filing No. 155) is held in abeyance and will

             be decided at the attorney conference scheduled for 8:30 a.m. on the

             morning of trial; and

      2.     The Defendant’s motion to produce Rule 404(b) material (Filing No. 156) is

             granted insofar as notice has been provided pursuant to Rule 404(b).

      DATED this 3rd day of April, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
